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FoR THE WESTERN DIsTRICT oF rENNEssE§$~/U; \ 05

 

EASTERN DIVISION _
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UNITED STATES OF AMERICA, )
Plaintiff, §
VS. § No. 03-10017-T-An
CLOTHEL GARNER, §
Defendant. §

 

ORDER DENYING MOTION FOR EXTENSION OF TIME
TO FILE A SECTION 2255 MOTION

 

Det`endant seeks an extension of time in Whieh to file a motion under 28 U.S.C. §
2255. As grounds, Defendant states that he “Was given the impression by his attorney that
he Would be filing the motion for him for some six months now.” According to Defendant,
he learned on June 13, 2005, that his attorney is representing him only in the matter of the
Rule 35 motion for reduction of sentence that the Government has filed

Federal courts lack jurisdiction to consider a request for an extension of time to file
a § 2255 motion prior to the filing of the motion itself. See Reed v. United States, 2001 WL
700811 (6"‘ Cir.); United States V. Leon, 203 F.3d 162 (2“d Cir. 2000) (“If or When Leon
actually files a § 2255 petition, the District Court and this court may consider his argument
that such a petition should be considered timely. Until then, We lack jurisdiction to consider

the matter.") Because Det`endant has not filed a § 2255 motion, the court does not have

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jurisdiction to consider the motion for extension of time. Therefore, Det`endant’s motion is

DENIED.

However, the court notes that the hearing on the motion to reduce Defendant’s
sentence is set for July 20, 2005. The action taken by the court at that hearing may eliminate
the need for Defendant to tile a § 2255 motion

IT IS SO ORDERED.

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US DISTRICT COURT

